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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


P.K.,                                               Case No.: ________________
c/o National Immigrant Justice Center,
224 S. Michigan Avenue, Suite 600
Chicago, IL 60604                                   REDACTED COMPLAINT

                       Plaintiff,
                                                    Submitted Electronically
       v.

U.S. CUSTOMS AND BORDER
PROTECTION,
1300 Pennsylvania Avenue, NW
Washington, D.C. 20229;

U.S. DEPARTMENT OF HOMELAND
SECURITY,
2707 Martin Luther King, Jr. Avenue, SE
Washington, D.C. 20528;

ALEJANDRO MAYORKAS, Secretary of the
U.S. Department of Homeland Security, in his
official capacity,
2707 Martin Luther King, Jr. Avenue, SE
Washington, D.C. 20528;

OFFICER BOCK, U.S. Customs and Border
Protection Officer, in his official capacity, 610
South Canal Street, Room 300
Chicago, IL 60607

                       Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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                                         INTRODUCTION

        1.                    (“P.K.”) is                    and aspiring graduate student in

mental health counseling. In October 2020, P.K. completed his undergraduate studies in Austria,

earning a Bachelor’s degree in Psychotherapy Science. Thereafter, he decided to pursue the next

chapter of his studies—obtaining a Master’s Degree—in the United States. Before arriving, P.K.

had been issued a valid F-1 visa by a Consular Officer, appointed by the President and confirmed

by the Senate, at the U.S. embassy in Vienna, Austria on May 11, 2021.

        2.       Less than a month later, P.K. flew to the United States, arriving at O’Hare

International Airport (“O’Hare airport”) in Chicago on June 5, 2021. P.K. came with a valid,

unexpired F-1 student visa that was properly issued by an appointed Officer. Nevertheless, an

unappointed employee of U.S. Customs and Border Protection (“CBP”) unilaterally decided to

revoke P.K.’s visa, without any valid basis or legal authority. This unappointed employee,

exercising unreviewable discretion purported to order a binding, final revocation of P.K.’s F-1

visa.

        3.       The exercise of sovereign authority by an unappointed employee violates the

Appointments Clause, one of “the significant structural safeguards of the constitutional scheme.”

Edmond v. United States, 520 U.S. 651, 659 (1997). To ensure public accountability for

Congress, the President, and the Officers of the executive branch, the Framers required that all

Officers be appointed by the President with the advice and consent of the Senate, or, where

Congress authorizes and the Officer is an inferior Officer, by the “Heads of Departments,” the

President, or courts of law. Id. at 659–60; U.S. Const. art. II, § 2, cl. 2. As the Supreme Court

has made clear, any employee of the United States government who “exercise[s] significant

authority pursuant to the laws of the United States” and “occup[ies] a continuing position” is an

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“Officer” for purposes of the Appointments Clause and thus must be properly appointed. Lucia

v. SEC, 138 S. Ct. 2044, 2051 (2018) (some internal quotation marks and citations omitted).

Any significant determination and order by such officials without appointment is a nullity. Id.

at 2055.

       4.       Accordingly, the unlawful actions by an unappointed CBP employee require

vacating the revocation of P.K.’s student visa. The employee who purported to revoke P.K.’s

visa was not appointed under the Appointments Clause, yet he made legal and factual

determinations without review or approval by any appointed Officer and entered a final, binding

revocation of P.K.’s visa. This unlawful revocation must be declared void ab initio.

       5.       Moreover, even if an unappointed CBP employee could constitutionally exercise

the sovereign authority of revoking visas, by regulation he would only have had such authority if

P.K. had been ordered removed or if P.K. was “granted permission to withdraw the application

for admission.” 22 C.F.R. § 41.122(e)(2), (3). Because P.K. had a credible fear of persecution if

                , his removal was prohibited by statute, 8 U.S.C. § 1225(b)(1)(A)(i), federal

regulations, 8 C.F.R. § 235.3(b)(4), and CBP policy, CBP Inspector’s Field Manual § 17.5(d).

Accordingly, CBP never purported to order P.K. removed and instead referred him for a

“credible fear interview” before an asylum officer. 8 C.F.R. § 235.3(b)(4). The asylum officer

gave P.K. a positive credible fear determination and issued him a Notice to Appear. 8 C.F.R. §

208.30(f). Moreover, although P.K. expressed willingness to withdraw his application,

Defendant Bock did not grant him permission to do so. Sections 41.122(e)(2) and (3), the only

even arguable grounds for revoking his visa, therefore never applied to his case.

       6.       P.K. is in further proceedings before an immigration judge related to his claim for

asylum, but the visa revocation is not reviewable in those proceedings. While his asylum

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proceedings are pending—which could take years to resolve—P.K. is unable to attend his

graduate studies because of the unlawful visa revocation. P.K. thus requests that this Court hold

that CBP’s revocation of his student visa was arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law because CBP officers have never had authority under

22 C.F.R. § 41.122(e)(2) or any other provision of law to revoke P.K.’s student visa. 5 U.S.C.

§ 706(2)(A).

                                  JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the laws of the United States, including the Appointments Clause of the U.S.

Constitution, art. II, § 2, cl. 2 and the Administrative Procedure Act, 5 U.S.C. §§ 701 et seq.

        8.       The revocation of Plaintiff’s visa on or around June 5, 2021, constitutes final

agency action within the meaning of 5 U.S.C. § 704.

        9.       Venue is proper under 28 U.S.C. § 1391(e) because Defendants are agencies and

officers of the United States, the action does not involve real property, and principal Defendants

reside in this District.

                                           THE PARTIES

        10.      Plaintiff P.K. is a                             . On May 11, 2021, an appointed

Consular Officer at the U.S. Embassy in Vienna, Austria, issued him an F-1 student visa to enroll

in graduate studies in the United States. On June 5, 2021, P.K. arrived at O’Hare airport, his first

port of entry in the United States. Upon his arrival, CBP officers placed him into secondary

inspection during which Defendant Bock revoked P.K.’s student visa.




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        11.     Defendant U.S. Department of Homeland Security (“DHS”) is a Department of

the Executive Branch of the United States government, and is responsible for enforcing the

immigration laws of the United States.

        12.      Defendant U.S. Customs and Border Protection (“CBP”) is a component of DHS

headquartered in Washington, D.C., and is responsible for enforcing the immigration laws along

the U.S. borders and at the ports of entry, including at Chicago O’Hare airport.

        13.     Defendant Alejandro Mayorkas is sued in his official capacity as the Secretary of

Homeland Security. In that capacity, he directs each of the component agencies within DHS,

including CBP.

        14.     Defendant Bock is sued in his official capacity as a CBP Officer.1 In his official

capacity, Defendant Bock purported to issue a determination that I.M. was inadmissible to the

United States and an order to remove him from the United States. Defendant Bock’s first name

is unknown, as the purported expedited removal order identifies him only as “BOCK,

CAR28942.”

                                   FACTUAL ALLEGATIONS

        15.     P.K. is a                             who had his valid, unexpired F-1 student

visa unlawfully revoked by Defendant Bock at the O’Hare airport in Chicago, Illinois, on June 5,

2021.

        16.     In spring 2021, P.K. was living in Vienna, Austria and had just completed his

undergraduate studies in Psychotherapy Science                                  . In order to


        1
         While Defendant Bock’s formal job title is “CBP Officer,” that does not denote Officer
status under the Appointments Clause. To avoid confusion, this Complaint will capitalize
“Officer” when referring to persons appointed under the Appointments Clause or positions
requiring appointment, and not capitalize “officer” when referring to the CBP job title.

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continue his studies, P.K. applied to                          in Florida, to pursue a Master’s

Degree in Clinical Mental Health Counseling. The University admitted him to its Master’s

program.

      17.       After receiving the invitation to study at                        , P.K. applied for

an F-1 visa. On May 11, 2021, an appointed Consular Officer at the U.S. Embassy in Vienna

issued P.K. an F-1 student visa to enroll in graduate studies in the United States. The visa stated

it was valid as of May 11, 2021. P.K. went to the U.S. Embassy and met with this Consular

Officer in person to receive the visa.

      18.       During this time period, the United States had in place travel restrictions for

individuals traveling from the Schengen Area of Europe (which includes Austria) due to the

COVID-19 pandemic. Thus, the Consular Officer at the Embassy in Vienna also provided P.K.

with a letter (the “consular letter”) that explained P.K. had been granted a National Interest

Exception under Presidential Proclamation 99932 and was permitted to enter the United States

despite the COVID-19 travel restrictions from the Schengen Area.

      19.       P.K. was aware of a recent history of travel restrictions with respect to

           , so he asked the Consular Officer to confirm whether there were any additional

restrictions on his entry. The Consular Officer stated that there were no other restrictions

                 traveling to the U.S. with a nonimmigrant visa. The Consular Officer told P.K.



       2
         Presidential Proclamation 9993 imposed restrictions on “all aliens who were physically
present within the Schengen Area during the 14-day period preceding their entry or attempted
entry into the United States.” Proclamation No. 9993, 85 Fed. Reg. 15,045, 15,046 (Mar. 16,
2020). The proclamation specifically identified Austria as part of the Schengen Area. Id. at
15,045. It also outlined several exceptions to the restriction, including “(xi) any alien whose
entry would be in the national interest, as determined by the Secretary of State, the Secretary of
Homeland Security, or their designees.” Id.

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that with the consular letter and the student visa, in addition to a negative COVID-19 test, P.K.

had all the documents he needed to travel to the United States to begin his program.

      20.      Based on his conversation with the U.S. Consular Officer, P.K. believed that the

visa permitted him to enter the United States any time after the date it was issued (and the date of

its facial validity) on May 11, 2021, but that the COVID-19 travel restrictions and the consular

letter required him to enter the United States within 30 days of that date.

      21.      In accordance with this understanding, P.K. made arrangements and purchased a

flight to the United States to depart within 30 days of the issuance of his visa. On June 5, 2021,

P.K. went to Vienna International Airport to take a flight bound for Chicago, Illinois. At Vienna

International Airport, a government official, who P.K. believed to be associated with the United

States government, performed a check of P.K.’s entry documents and other travelers’ documents.

The official cleared P.K. to board his flight.

      22.      The same day, P.K. arrived at O’Hare airport, his first port of entry in the United

States before his connecting flight to Florida.

      23.      When P.K. landed at O’Hare and presented the CBP official at the primary

inspection kiosk with his documents, the official asked P.K. about his arrival and referred him to

secondary inspection for further questioning.

      24.      The official at the kiosk handed P.K.’s passport and other documents to another

official who guided P.K. to the secondary inspection area. This was the last time P.K. had access

to his passport and other related identification documents.

      25.      At secondary inspection, P.K. encountered Defendant Bock, a CBP officer.

Based on information and belief, CBP officers such as Defendant Bock are hired by CBP’s



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Office of Human Management. Neither the President nor the Secretary of Homeland Security,

Defendant Mayorkas, appoints CBP officers.

      26.       Defendant Bock claimed P.K. was inadmissible to the United States despite

P.K.’s valid, unexpired F-1 student visa.

      27.      Defendant Bock asserted that P.K. was not eligible to enter the United States until

30 days before his program at                          was to begin. He also claimed that P.K.

was subject to COVID-19 travel restrictions and that the consular letter explaining that P.K.

qualified for a National Interest Exception was not valid.

      28.      Defendant Bock asked P.K. about the purpose of his trip to the United States, to

which P.K. replied that he wanted to make sure he had time to find housing, obtain a social

security card, and begin to work on campus once his program began. Defendant Bock then

asserted that P.K. intended to unlawfully work in the United States, despite P.K.’s explanation

that he intended only to work on campus at the University mental health clinic to fulfill the

practical hours requirement for his Master’s program, as authorized under his F-1 visa.

      29.      Defendant Bock charged P.K. as inadmissible under 8 U.S.C.

§ 1182(a)(7)(A)(i)(I). This statute applies to an “immigrant,” a foreign national who intends to

live and work permanently in the United States,3 who is not in possession of a valid, unexpired,

immigrant visa, i.e., a lawful permanent resident “green card.” At the time of his arrival, P.K.

had no intention to live and work permanently in the United States; rather, he wished to pursue

his graduate studies according to the terms of his unexpired F-1 (“nonimmigrant”) visa.


       3
          The Immigration and Nationality Act contains a broad definition of “immigrant” as
“every alien except” those admitted under enumerated nonimmigrant categories, including an
alien “who is a bona fide student qualified to pursue a full course of study . . . .” 8 U.S.C.
§ 1101(a)(15).

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         30.   After informing P.K. that he had revoked his student visa and that P.K. was not

eligible to enter the United States, Defendant Bock asked P.K. if he wanted to withdraw his

application for admission to the United States in lieu of formal expedited proceedings. P.K.

initially stated that he did, but Defendant Bock did not grant P.K. permission for withdrawal.

Instead, he asked P.K. if he had any fears with respect to                . P.K. replied that he

feared                  because

                                                             . P.K. further conveyed that his life

would be endangered if he returned there.

         31.   P.K.’s plan was not to seek asylum, but to complete his U.S. studies and then

determine the next steps in his career. However, faced with potential                  by

Defendant Bock, P.K. expressed a fear of                        if returned there due to

                          . Defendant Bock then referred P.K. to an asylum officer for a

“credible fear interview,” pursuant to 8 U.S.C. § 1225(b)(1)(A)(i). Before doing so, Defendant

Bock unlawfully revoked P.K.’s F-1 visa and had P.K. detained at a local jail.

         32.   Federal regulations purport to authorize an immigration officer, such as

Defendant Bock, to revoke a visa when an individual is “ordered . . . removed from the United

States pursuant to INA 235 [8 U.S.C. § 1225].” 22 C.F.R. § 41.122(e)(2).

         33.   However, under federal law and CBP policy, an individual who expresses a fear

of persecution cannot be ordered removed unless and until the person has been interviewed by

an asylum officer and that asylum officer has determined that the person does not have a

credible fear of persecution. See 8 U.S.C. §§ 1225(b)(1)(A)(i), (b)(1)(B)(iii); 8 C.F.R.

§§ 235.3(b)(4), 208.30(g)(1)(ii)); CBP Inspector’s Field Manual § 17.15(d) (2006), available at

https://www.aila.org/infonet/cbp-inspectors-field-manual.

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        34.     On or around June 22, 2021, P.K. received a positive credible fear determination

from an asylum officer and was referred to an immigration judge for further proceedings.

8 C.F.R. § 208.30(f). At no time was P.K. subject to a final removal order that would have

triggered Defendant Bock or any other CBP officer’s authority to revoke his F-1 visa.

        35.     Federal regulations also purport to authorize an immigration officer to revoke a

visa when an individual “requests and is granted permission to withdraw the application for

admission.” 22 C.F.R. § 41.122(e)(3). Although P.K. expressed willingness to withdraw his

application, Defendant Bock never granted P.K. permission to do so—and instead referred P.K.

to an asylum officer.

        36.     Due to Defendant Bock’s unlawful actions, P.K. has been unable to begin his

 graduate studies. P.K. now lives in Florida and until recently, was only able to support himself

 with the funds intended for his tuition at                       . P.K.’s goals of obtaining a

 degree in mental health counseling in order to serve the community have been thwarted due to

 the unlawful actions of one unappointed federal employee.

                                     CLAIMS FOR RELIEF

                                              COUNT ONE

              (Violation of the Appointments Clause, U.S. Const. art. II, § 2, cl. 2)

        37.     Plaintiff repeats and incorporates by reference each of the foregoing paragraphs as

if fully set forth herein.

        38.     Any employee of the United States government who “exercise[s] significant

authority pursuant to the laws of the United States” and “occup[ies] a continuing position” is an

“Officer” for purposes of the Appointments Clause and thus must be properly appointed. Lucia,

138 S. Ct. at 2051.

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       39.       Dating as far back as the first immigration acts, the Supreme Court has required

governmental agents making final immigration determinations to be appointed as Officers. See

Nishimura Ekiu v. United States, 142 U.S. 651, 660 (1892) (“[T]he final determination of those

facts may be in trusted by congress to executive officers . . . .” (emphasis added)); Dep’t of

Homeland Sec. v. Thuriassigiam, 140 S. Ct. 1959, 2006 (2020) (Sotomayor, J., dissenting)

(summarizing Nishimura Ekiu as “considering whether immigration officer’s appointment was

unconstitutional such that his actions were invalid”).

       40.       Defendant Bock, an unappointed CBP employee, unilaterally decided to revoke

P.K.’s F-1 visa on an erroneous factual and legal basis.

       41.       Defendant Bock’s determination was final, binding, and lacked any involvement

or input from an appointed Officer.

       42.       Visa revocations are exercises of significant authority pursuant to the laws of the

United States.

       43.       Defendant Bock holds a continuing position established by law.

       44.       Therefore, he cannot exercise the significant authority of the United States,

including the revocation of visas, without being appointed pursuant to the Appointments Clause.

       45.       Neither the President nor the Secretary of Homeland Security appointed

Defendant Bock pursuant to the Appointments Clause.

       46.       Because P.K.’s visa was revoked by an official wielding significant authority in a

continuing position who had not been appointed pursuant to the Appointments Clause, the

revocation was invalid and void ab initio. See Lucia, 138 S. Ct. at 2055.




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                                          COUNT TWO

   (Violation of the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 702, 706(2)(A) –
                  Arbitrary, Capricious and Not in Accordance with Law)

        47.     Plaintiff repeats and incorporates by reference each of the foregoing paragraphs as

if fully set forth herein.

        48.     The APA provides that a “reviewing court shall—hold unlawful and set aside

agency action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

        49.     Defendant Bock’s revocation of Plaintiff’s F-1 visa was a final agency action.

        50.     Federal regulations purport to authorize a CBP officer to revoke a visa when an

individual is “ordered . . . removed from the United States pursuant to INA 235 [8 U.S.C. §

1225].” 22 C.F.R. § 41.122(e)(2). However, P.K. was not and could not have been ordered

removed.

        51.     As soon as P.K. expressed fear of                   , Defendant Bock referred him

to an asylum officer for a credible fear interview.

        52.     CBP officers may not order an individual removed when the individual has been

referred to an asylum officer for the credible fear interview. 8 U.S.C. § 1225(b)(1)(A)(i); 8

C.F.R. § 235.3(b)(4); CBP Inspector’s Field Manual § 17.15(d). If the asylum officer makes a

positive determination in the credible fear interview no order of removal can be issued and the

individual is transferred to removal proceedings before an immigration judge. 8 U.S.C.

§ 1225(b)(1)(B)(ii); 8 C.F.R. § 208.30(f).




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       53.     P.K. received a positive credible fear determination from an asylum officer and

was referred to an immigration judge for further proceedings, such that no authority under

22 C.F.R. § 41.122(e)(2) to revoke his visa ever applied.

       54.     Federal regulations also authorize a CBP officer to revoke a visa when an

individual “requests and is granted permission to withdraw the application for admission.”

22 C.F.R. § 41.122(e)(3).

       55.     Defendant Bock never granted a request from P.K. to withdraw his application,

and instead referred P.K. to an asylum officer for a credible fear interview. Thus, no authority

under 22 C.F.R. § 41.122(e)(3) applied.

       56.     Accordingly, Defendant Bock’s revocation of P.K.’s F-1 visa was arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law under the APA.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

   a. Declare that the revocation of Plaintiff’s F-1 visa violated the Appointments Clause;

   b. Declare that the revocation of Plaintiff’s F-1 visa is invalid and void ab initio;

   c. Declare that the revocation of Plaintiff’s F-1 visa was arbitrary, capricious, an abuse of
       discretion, or otherwise not in accordance with law;

   d. Hold unlawful and set aside the purported revocation of Plaintiff’s visa;

   e. Order Defendants to take appropriate corrective action, including but not limited to,

       reversing the decision to cancel Plaintiff’s F-1 visa;

   f. Award Plaintiff’s counsel reasonable attorneys’ fees under the Equal Access to Justice

       Act, and any other applicable statute or regulation; and

   g. Such other and further relief as the Court deems equitable, just, and proper.



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Dated: July 8, 2022                       Respectfully submitted,


                                   By: s/ Nandini Singh
                                       Nandini Singh (D.C. Bar No. 1047925)
                                       Jillian Feirson (D.C. Bar No. 1743234)
                                       Covington & Burling LLP
                                       850 10th Street NW
                                       Washington, D.C. 20001
                                       Tel: (202) 662-6000
                                       nsingh@cov.com
                                       jfeirson@cov.com

                                          Jeffrey B. Dubner (D.C. Bar No. 1013399)
                                          DEMOCRACY FORWARD FOUNDATION
                                          P.O. Box 34553
                                          Washington, D.C. 20043
                                          Tel: (202) 448-9090
                                          jdubner@democracyforward.org

                                          Mark Fleming (pro hac to be filed)
                                          NATIONAL IMMIGRANT JUSTICE CENTER
                                          224 South Michigan Ave., Suite 600
                                          Chicago, Illinois 60604
                                          Tel: (312) 660-1370
                                          Fax: (312) 660-1505
                                          mfleming@hearlandalliance.org


                                          Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2022, I caused a true and correct copy of the foregoing to

be filed electronically with the Clerk of the Court on the ECF system and transmitted to counsel

registered to receive electronic service.

                                                    s/ Nandini Singh
                                                    Nandini Singh
